EXHIBIT A

 Budget




    3
Debtors' 13-Week Cash Projection
WE 7/7/23 to 9/29/23
                                                                                          Second        Entry of
                                                                                        Interim DIP     Final DIP
                                        First Day Hrg                                      Order          Order                  Sale Closing               POST 363 ANTICIPATED
                                             PROJ            PROJ            PROJ            PROJ         PROJ        PROJ           PROJ      PROJ    PROJ    PROJ     PROJ     PROJ PROJ
                 Week Ending ========>>     7/7/23          7/14/23         7/21/23         7/28/23      8/4/23      8/11/23       8/18/23    8/25/23 9/1/23 9/8/23 9/15/23 9/22/23 9/29/23                   TOTAL

USD EQUIVALENTS OF FIL RECEIPTS
      FIL Rewards                             20,000          20,000          20,000          20,000       20,000      20,000       20,000        -        -        -        -            -            -      140,000
      FIL Lender Payments                     15,000          15,000          15,000          15,000       15,000      15,000       15,000        -        -        -        -            -            -      105,000
USD EQUIVALENT OF TOTAL NET FIL RECEIPTS       5,000           5,000           5,000           5,000        5,000       5,000        5,000        -        -        -        -            -            -       35,000
DEBTOR DISBURSEMENTS -                                                                                                                            -        -        -        -            -            -
Opex                                                                                                                                              -        -        -        -            -            -          -
     LightEdge Datacenter                     50,000             -               -               -         50,000         -            -          -        -        -        -            -            -      100,000
     Personnel Costs                          99,231             -               -            87,650          -           -         87,650        -        -        -        -            -            -      274,531
     Tax Obligation (UK)                                         -               -            10,633                                              -        -        -        -            -            -       10,633
     Baseline Escrowed Pmt                    33,000             -               -               -            -           -             -         -        -        -        -            -            -       33,000
     Micellaneous Computer Expense (AWS)       3,500             -               -               -          3,500         -           3,500       -        -        -        -            -            -       10,500
     Office Lease Costs                        2,000             -               -               -            -         2,000           -         -        -        -        -            -            -        4,000
     Travel                                      -             2,500             -             7,000        2,500         -           2,500       -        -        -        -            -            -       14,500
     Miscellaneous                             1,000           1,000           1,000           1,000        1,000       1,000         1,000       -        -        -        -            -            -        7,000
                                                                                                                                                  -        -        -        -            -            -          -
Restructuring                                                                                                                                     -        -        -        -            -            -          -
       Debtor Counsel - Bayard                   -               -               -               -             -          -         55,000        -        -        -        -            -            -       55,000
       Subchapter V Trustee                   10,000             -               -            15,000                                              -        -        -        -            -            -       25,000
       Wind Down                                 -               -               -               -             -          -         30,000        -        -        -        -            -            -       30,000
Other Outflows                                                                                                                                    -        -        -        -            -            -          -
       Capital expenditures                      -               -               -               -        200,000         -             -         -        -        -        -            -            -      200,000
       FIL Purchases                             -               -               -               -            -       200,000           -         -        -        -        -            -            -      200,000
                                                                                                                                                  -        -        -        -            -            -
TOTAL CASH DISBURSEMENTS                     198,731           3,500           1,000         121,283      257,000     203,000      179,650        -        -        -        -            -            -      964,164
                                                                                                                                                  -
OPERATING CASH                              (198,731)         (3,500)         (1,000)       (121,283)    (257,000)   (203,000)     (179,650)      -        -        -        -            -            -      (964,164)

RESTRUCTURING RECEIPTS
      DIP Loan Draw                          210,000             -               -           200,000      200,000     200,000      200,000                 -        -        -                               1,010,000

DEBTOR CASH                                   11,269           7,769           6,769          85,486       28,486      25,486       45,836     45,836   45,836   45,836   45,836       45,836       45,836     45,836

 LENDER DISBURSEMENTS/EXPENSES
      Lender Fees
         Commitment Fee                          -               -               -               -            -        30,300          -          -        -        -        -     -            -              30,300
         Lender Counsel                          -               -               -               -         50,000         -         50,000        -        -        -        -     -            -             100,000
          DIP Interest                           -               -               -               -          2,317         -          6,903        -        -        -        -     -            -               9,220
         Collateral Monitoring                20,000             -               -               -         20,000         -            -          -        -        -        -     -            -              40,000
      Miscellaneous/Filing Costs               1,000    -               -               -                   4,000       1,000        1,000        -        -        -        -     -            -               7,000
      TOTAL LENDER DISBURSEMENTS              21,000             -               -               -         76,317      31,300       57,903        -        -        -        -            -            -      186,520

DIP LOAN BALANCE                             231,000         231,000         231,000         431,000      707,317     938,617     1,196,520       -        -        -        -            -            -     1,196,520
